           IN THE UNITED STATES DISTRICT COURT FOR
             THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA        :
                                :
      v.                        :
                                : No. 4:19-CR-207
DAMONICO HENDERSON,             :
                                :(Magistrate Judge Arbuckle)
               Defendant.       :
                                : Judge Brann


            BRIEF IN SUPPORT OF DEFENDANT’S MOTION
    FOR REVIEW AND REVOCATION OF PRE-TRIAL DETENTION ORDER

     Defendant Damonico Henderson, by and through his

undersigned counsel, pursuant to 18 U.S.C. § 3145(b), hereby

submits this Brief in support of his Motion for Review and

Revocation of the pre-trial detention Order.

            FACTUAL BACKGROUND AND PROCEEDINGS BELOW

     On June 14, 2019, a Criminal Complaint was filed

against Mr. Henderson charging him with Conspiracy to

Distribute a Controlled Substance.    Mr. Henderson was

arrested at his home in Ohio on June 17, 2019 and

subsequently detained.

     On June 27, 2019, an indictment was returned

charging him and two other individuals with Conspiracy

to Distribute and related offenses.   Mr. Henderson was

also charged with one count of Attempted Possession with

Intent to Deliver.    An initial appearance and
arraignment was held on July 12, 2019 before Magistrate

Judge Arbuckle.   At that time, the Government invariably

requested detention of Mr. Henderson and invoked the

rebuttable presumption pursuant to 18 U.S.C. § 3142(e).

Mr. Henderson did not contest detention at that juncture

and reserved the right to challenge it.

     Finally, on August 20, 2019, Mr. Henderson filed a Motion

for Review and Revocation of the Detention Order.   Accordingly,

this Brief is being submitted in support of that Motion.

                               ARGUMENT

     MR. HENDERSON SHOULD BE RELEASED PENDING THE DISPOSITION
  OF THIS CASE BECAUSE HE CAN PRESENT SOME CREDIBLE EVIDENCE TO
                REBUT THE PRESUMPTION OF DETENTION.

     In order to obtain pre-trial detention of a defendant based

upon grounds of dangerousness and flight, the government must

establish that no condition or combination of conditions will

reasonably assure the appearance of a defendant or the safety of

the community.    See 18 U.S.C. § 3142(e); United States v. Suppa,

799 F.2d 115 (3d Cir. 1996).    In cases involving the statutory

presumption in favor of detention set forth in 18 U.S.C. §

3142(e), a defendant need only present “some credible evidence”

to rebut the presumption.   See United States v. Carbone, 793

F.2d 559 (3d Cir. 1986); United States v. Gibson, 481 F. Supp.

2d 419 (W.D. Pa. 2007).   A court is obligated to consider all of

the enumerated factors, including the history of a defendant and

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their characteristics, medical status, employment history,

family, length of residence in the community and criminal

history before making this determination.    See 18 U.S.C. §

3142(g); United States v. Nwokoro, 651 F.3d 108, 111 (D.C. Cir.

2011) (remanding where the district court did not consider all

the factors).

     The statute sets forth a broad and non-exhaustive range of

conditions which a court has at its disposal to reasonably

assure the safety of the community and the appearance of a

defendant during pretrial release.   See 18 U.S.C. § 3142(c).

     Here, applying the salient detention factors, Mr. Henderson

can satisfy the low “some credible evidence” standard to rebut

the presumption and demonstrate that there exist a combination

of conditions of pre-trial release that will be sufficient to

reasonably assure Mr. Henderson’s future court appearances and

the safety of the community.

     First, Mr. Henderson is 55 years old.    He is a

lifelong resident of Elyria, Ohio and has lifelong ties

to that community.   See United States v. Townsend, 897

F.2d 989, 995 (9th Cir. 1990) (“ties to the community”

means both community of arrest and community where

defendant normally resides).   He is married, has three

adult children he raised in Ohio, and was gainfully

employed in his own community.

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     Mr. Henderson has worked at the same job, Harkness

Services (“Harkness”), for the past six years.     Harkness

installs exhaust hoods for industrial kitchens.

According to his boss Chris Harkness, Mr. Henderson was

a terrific employee and was greatly valued.   He

describes Mr. Henderson as “trustworthy,” “reliable” and

that he “gets the job done.”    Mr. Harkness has confirmed

that if released, Mr. Henderson would have a job.1

     Second, while Mr. Henderson does have a criminal history,

it is relatively old.   His last conviction was eleven years ago.

Notably, he has no conviction for any violent offense.    See

United States v. Himler, 797 F.2d 156 (3d Cir. 1986) (there is

no per-se presumption of flight based upon seriousness of

charges).

     Third, despite the prior criminal history, he poses no risk

of flight and has no history of violating his pre-trial release

or post-sentence supervision.   Indeed, his last offense in 2008,

a federal drug and felon not to possess case, he was released on

unsecured bond.   See Def.’s Ex. A.   In addition, during his pre-

trial release on that case, the district court permitted him to

travel to Georgia to visit his mother.   See Def.’s Ex. B (docket

sheet entry No. 15 from N.D. Ohio).   Finally, the district court


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   Mr. Harkness would be available to testify at the detention
hearing.
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there permitted him to self-surrender to the Marshal’s after his

sentencing hearing.   See Def.’s Ex. C. (judgment self-surrender

to U.S. Marshal).   This evidence plainly establishes that Mr.

Henderson did not violate any terms of his pre-trial release,

including his out-of-state travel to Georgia, and can otherwise

comply with the rules of release.   See United States v. Hare,

873 F.2d 796 (5th Cir. 1989) (defendant rebutted the presumption

of flight by establishing he had self-reported to prison in

prior case and had no prior probation violations).

     Fourth, Mr. Henderson was arrested on these charges in his

neighborhood in Ohio.   He made no attempt to abscond or obstruct

justice.

     Fifth, Mr. Henderson or his family are willing to post

financial resources if necessary as added assurance to comply

with any release conditions.

     Sixth, the allegations in the Indictment stem from 2015 and

the discovery in this case that was just received last week is

voluminous.   Thus far, in addition to paper discovery, it

consists of twelve CD/DVD’s that include various electronic

surveillance, recordings and video.   Given that it is

anticipated more discovery is forthcoming, the possible need to

file certain pre-trial motions and for pre-trial hearings, among

other things, further significant delay will be likely.



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     Valid pre-trial detention when it becomes prolonged can

assume a punitive character and offends due process.      See United

States v. Accetturo, 783 F.2d 382, 387-88 (3d Cir. 1986).

Moreover, often overlooked, there exist a myriad of hardships

during pre-trial detention that include the “deterioration of

morale, demeanor, finances, resources, reputation and quality

and thoroughness of legal defense, [that] may combine to

disadvantage the defendant.”   United States v. Gallo, 653 F.

Supp. 320, 337 (E.D. NY 1986).       As a result, the Court should

consider the undue amount of time before trial commences in

determining Mr. Henderson’s continued detention.      See id.;

United States v. Gato, 750 F. Supp. 664 (D.N.J. 1990) (court

orders release of defendants because of excessive delay); United

States v. Khashoggi, 717 F. Supp. 1048 (S.D.N.Y. 1989) (prospect

of protracted pre-trial proceedings weighs against detention).

     Finally, there exists a panoply of conditions to ensure Mr.

Henderson’s compliance with release.      His family may be able to

post some monetary bail.   His wife can act as a third-party

custodian.    His employer will also work with her to assure Mr.

Henderson’s compliance of pre-trial release.      The Court can also

order him to report to pre-trial services in his home district,

the Northern District of Ohio, and/or be placed on electronic

monitoring.   In fact, the use of an electronic monitoring

bracelet “arguably” is sufficient by itself to rebut the

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presumption of detention.    See United States v. O’Brien, 895

F.2d 810 (1st Cir. 1990).    Other reasonable conditions exist as

well to ensure compliance.

                             CONCLUSION

     Accordingly, for the foregoing reasons, it is respectfully

requested that the Court grant a hearing on Mr. Henderson’s

Motion for Review and Revocation of the Detention Order and

release him upon any of these conditions and such other

conditions as the Court deems appropriate.




Dated:    August 20, 2019

                                MIELE & RYMSZA, P.C.


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                     CERTIFICATE OF SERVICE

     I, Edward J. Rymsza, Esq., hereby certify that on this 20th

day of August 2019, I served the foregoing Brief in Support of

Motion for Review and Revocation of Pre-trial Detention Order

upon Geoff MacArthur, Esq. by electronic mail.



Dated:    August 20, 2019


                              MIELE & RYMSZA, P.C.



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